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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                        SOUTH BEND DIVISION

UNITED STATES OF AMERICA               )
                                       )
              v.                       ) CAUSE NUMBER: 3:19-CR-00046-JD-MGG
                                       )
JOSHUA RAY                             )


               PETITION TO ENTER A PLEA OF GUILTY

      The defendant above named respectfully represents to the Court as

follows:

      1.    My true name is Joshua Ray, and I request that all proceedings

against me be had in the name which I here declare to be my true name.

      2.    I was born in the United States of America. I have attended

school, and I have the ability to read, write, and speak the English language.

      3.    I am represented by counsel and the name of my lawyer is

Donald J. Schmid.

      4.    I have received a copy of the Third Superseding Indictment and

have read and discussed it with my lawyer, and I believe and feel that I

understand every accusation made against me in this case.

      5.    I have told my lawyer the facts and surrounding circumstances

as known to me concerning the matters mentioned in the Third Superseding

Indictment and believe and feel that my lawyer is fully informed as to all
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such matters. My lawyer has since informed me and has counseled and

advised with me as to the nature and cause of every accusation against me

and as to any possible defenses I might have in this case.

      6.    I understand that I am entitled to have all of my rights which

may be involved in this matter explained to me, and that I have the right to

have any questions I may have answered for me.

      7.    I understand that I have a right to plead NOT GUILTY to any

offense charged against me, and that under a plea of NOT GUILTY the

Constitution guarantees me:

            (a)   the right to a speedy and public trial by a twelve-person

      jury of my peers, selected according to law, in the Northern District of

      Indiana, which must return a unanimous verdict of GUILTY before I

      can be convicted;

            (b)   the right to be released on reasonable bail until my trial

      occurs;

            (c)   the right to see, hear, and cross-examine all the witnesses

      against me at my trial;

            (d)   the right to use the power and process of the Court to

      compel the production of any evidence, including the attendance of any

      witnesses in my favor at my trial;




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            (e)    the right to the assistance of counsel at every stage of the

      proceedings, including upon an appeal if need be;

            (f)    the right not to testify without prejudice; and,

            (g)    that in the event that I should be found GUILTY of the

      charge against me, I would have the right to appeal my conviction on

      such charge to a higher court.

      8.    I understand, also, that if I plead GUILTY, I waive the right to

trial by jury in any and all proceedings in this case and all of the other rights

mentioned above.

      9.    Notwithstanding the above, I have, with the assistance of

counsel, entered into an agreement with the United States Attorney’s Office

for the Northern District of Indiana as follows:

      (a)   I agree to plead guilty to Count Nine of the Third
      Superseding Indictment charging me with possessing
      machineguns in violation of Title 18, United States Code, Section
      922(o) because I am, in fact, guilty of the offense charged.

      (b)   I understand that in order for the Court to accept my guilty
      plea to Count Nine of the Third Superseding Indictment, the
      Court must receive what is called a factual basis. In connection
      with my guilty plea, I acknowledge the following facts:

                  On May 22, 2019, I knowingly possessed
            machineguns. On that day, law enforcement executed a
            search warrant at my residence in the Northern District of
            Indiana and recovered multiple auto-switches (sears), some
            of which were branded as “Glock.” I had ordered these auto-
            switches (sears) over the internet and had them delivered to
            my residence. I knew that the auto-switches (sears)
            converted a firearm into a machinegun by making it fully


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           automatic. I acknowledge that the auto-switches (sears) I
           possessed meet the statutory definition of a machinegun
           pursuant to Title 18, United States Code, Section 921(a)(23)
           and Title 26, United States Code, Section 5845(b).

     (c)   I understand that the maximum possible penalty that may
     be imposed upon me for my conviction of the offense of possessing
     machineguns as charged in Count Nine of the Third Superseding
     Indictment is a term of imprisonment, if any, not to exceed ten
     (10) years, a fine not to exceed $250,000.00, or a combination of
     both imprisonment and a fine, to which may be added a term of
     supervised release of not less than three (3) years up to life, plus
     a special assessment of $100.00 in addition to any other penalty
     imposed.

     (d)   I understand that under the U.S. Sentencing Guidelines,
     the Court, in light of an investigation by the United States
     Probation Office, will determine the applicable sentencing
     guideline range, and that the Court will determine all matters,
     whether factual or legal, relevant to the application of the
     sentencing guidelines including, but not limited to, the adjusted
     offense level, the relevant circumstances in the case, the criminal
     history points and category, relevant conduct, the grouping of
     offenses, victim-related adjustments, role in the offense
     adjustments, career offender status, criminal livelihood and
     acceptance of responsibility as well as possible departures from
     the application of the U.S. Sentencing Guidelines. I understand
     that the U.S. Sentencing Guidelines are advisory only, and that
     the specific sentence to be imposed upon me will be determined
     by the judge after a consideration of a pre-sentence investigation
     report; input from counsel for myself, from the government, and
     from me; federal sentencing statutes; and the U.S. Sentencing
     Guidelines.

     (e)    I understand that the law gives a convicted person the
     right to appeal the conviction and the sentence imposed. I also
     understand that no one can predict the precise sentence that will
     be imposed, and that the Court has jurisdiction and authority to
     impose any sentence within the statutory maximum set for my
     offense(s) as set forth in this plea agreement. With this
     understanding and in consideration of the government’s entry
     into this plea agreement, I expressly waive my right to appeal or

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     to contest my conviction and all components of my sentence or
     the manner in which my conviction or my sentence was
     determined or imposed, to any Court on any ground other than a
     claim of ineffective assistance of counsel, including any appeal
     under Title 18, United States Code, Section 3742 or any post-
     conviction proceeding, including but not limited to a proceeding
     under Title 28, United States Code, Section 2255. I also agree to
     waive all rights, whether asserted directly or through a
     representative, to, after sentencing, request or receive from the
     United States any further records, reports, or documents
     pertaining to the investigation or prosecution of this matter. This
     waiver includes, but is not limited to, rights conferred by the
     Freedom of Information Act and the Privacy Act of 1974.

     (f)    I agree to forfeit to the United States the following
     property: Glock auto-switches (sears), assorted rounds of
     ammunition, a HK 91 .380 rifle bearing serial number A059026,
     a Winchester .22 rifle bearing serial number 674171, a Ruger
     LCP .380 firearm bearing serial number 37128691, a Ruger LCP
     .380 firearm bearing serial number 380282762, a Savage .22 rifle
     bearing serial number 2768208, a Mossberg 12 gauge shotgun
     bearing serial number V0533340, and a Smith and Wesson
     Governor .410 45LC 45 ACP bearing serial number CR27014. I
     acknowledge that all property covered by this agreement is
     subject to forfeiture as property involved in or used in the
     commission of the offense. I further consent to the entry of orders
     of forfeiture pursuant to Federal Rules of Criminal Procedure
     32.2.

     (g)    I understand that the government has reserved the right to
     tell the Court the good things about me and the bad things about
     me, and to fully inform the Court of the nature and extent of my
     offense as well as the full extent of my criminal history.

     (h)   Any agreement that follows in this sub-paragraph is
     submitted to the Court pursuant to Rule 11(c)(1)(B) of the
     Federal Rules of Criminal Procedure and is not binding upon the
     Court. I understand that this means that if the Court refuses to
     follow the recommendations set forth in this sub-paragraph, I
     will not be allowed to withdraw my guilty plea:




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            (1)   The United States of America and I agree that in
            recognition of my acceptance of responsibility for my
            offense conduct, I am entitled to a two-level reduction in
            offense level. However, the government’s obligation to
            recommend acceptance of responsibility under this plea
            agreement is contingent upon my continuing manifestation
            of acceptance of responsibility. Should I deny my
            involvement, give conflicting statements of my
            involvement, or engage in additional criminal conduct
            including any personal use of controlled substances, the
            government shall not be bound to recommend any
            reduction in offense level for acceptance of responsibility;
            and

            (2)    I further understand that the Court is not bound by
            these recommendations, that the Court makes the final
            decision regarding my receipt of a reduction in offense level
            for acceptance of responsibility, and that I am not entitled
            to withdraw this guilty plea if the Court decides not to
            accept these recommendations.

      (i)   Pursuant to Rule 11(c)(1)(A) of the Federal Rules of
      Criminal Procedure and in exchange for my guilty plea, the
      United States agrees to move to dismiss Counts One through
      Eight and Ten of the Third Superseding Indictment at the time of
      sentencing. The United States further agrees that it will not seek
      to bring charges against me pertaining to perjury and false
      statements under oath from my testimony on December 4, 2019.

      (j)  I understand that other than what is contained in this plea
      agreement, no predictions, promises, or representations have
      been made to me as to the specific sentence that will be imposed.

      10.   I am prepared to state to the Court my reasons based on the facts

in this matter that cause me to believe that I am GUILTY as charged.

      11.   I believe and feel that my lawyer has done all that anyone could

do to counsel and assist me and that I now understand the proceedings in

this case against me.

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      12.   I declare that I offer my plea of GUILTY freely and voluntarily

and of my own accord, and no promises have been made to me other than

those contained in this petition, nor have I been threatened in any way by

anyone to cause me to plead GUILTY in accordance with this petition.

      13.   I understand and acknowledge that this petition, once filed with

the Court, is a public document and is available for public viewing.


                                     s/ Joshua Ray

                                    Joshua Ray
                                    Defendant

                                     s/ Donald J. Schmid

                                    Donald J. Schmid
                                    Attorney for Defendant


                                    APPROVED:

                                    THOMAS L. KIRSCH II
                                    UNITED STATES ATTORNEY

                                     s/ Kimberly L. Schultz
                              By:
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